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                                                                                                 17   Southern California Design Company
                                                                                                 18
                                                                                                                            UNITED STATES DISTRICT COURT
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                                                                                                                         SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                 20
                                                                                                 21
                                                                                                      TAYLOR MADE GOLF COMPANY,                  Case No. 3:24-cv-0212-AGS-VET
                                                                                                 22   INC.,                                      Honorable Andrew G. Schopler
                                                                                                 23                    Plaintiff,
                                                                                                                                                 DECLARATION OF ROBERT
                                                                                                 24              vs.                             LANG
                                                                                                 25
                                                                                                      COSTCO WHOLESALE CORP., and
                                                                                                 26   SOUTHERN CALIFORNIA DESIGN
                                                                                                 27   COMPANY d/b/a INDI GOLF,

                                                                                                 28                    Defendants.

                                                                                                                                                             DECLARATION OF ROBERT LANG
                                                                                                                                                                Case No. 3:24-CV-0212-AGS-VET
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                                                                                                  3         I, Robert Lang, declare and state as follows:
                                                                                                  4   1.    I am CEO of Southern California Design Company (SCDC), a named
                                                                                                  5         defendant in the above-identified litigation.
                                                                                                  6   2.    I have personal knowledge of the facts set forth in this Declaration. If called
                                                                                                  7         as a witness, I could and would testify competently to these facts.
                                                                                                  8   3.    SCDC is a consulting firm with expertise in product design.
                                                                                                  9   4.    “INDI Golf” (INDI) is a registered U.S. trademark (Registration Number
                                                                                                 10         5267595) of SCDC used as a brand for golf clubs.
                                                                                                 11   5.    I understand that in the above-identified litigation, Taylor Made Golf
                                                                                                 12         Company, Inc. (Taylor Made) has accused SCDC of infringing several Taylor
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                                                                                                 13         Made patents by alleging that SCDC has manufactured or imported
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                                                                                                 14         infringing golf irons into the United States, and that SCDC has sold
                                                                                                 15         infringing golf irons to Costco Wholesale Corp. (Costco), another named
                                                                                                 16         defendant in the above-identified litigation.
                                                                                                 17   6.    SCDC has not sold, and does not sell anything to Costco.
                                                                                                 18   7.    SCDC has not offered to sell, and does not offer to sell anything to Costco.
                                                                                                 19   8.    SCDC has not had, and does not have any contracts with Costco.
                                                                                                 20   9.    SCDC has not manufactured, and does not manufacture Kirkland
                                                                                                 21         Signature™ golf irons, including the golf irons that are accused of patent
                                                                                                 22         infringement in this litigation.
                                                                                                 23   10.   SCDC has not imported, and does not import Kirkland Signature™ golf
                                                                                                 24         irons, including the golf irons that are accused of patent infringement in this
                                                                                                 25         litigation.
                                                                                                 26   11.   SCDC has not advertised, and does not advertise anything on Costco’s web
                                                                                                 27         site, or through Costco’s online store.
                                                                                                 28   12.   SCDC has not published, and does not publish anything on Costco’s web site,
                                                                                                            or through Costco’s online store.
                                                                                                                                                -2-                 DECLARATION OF ROBERT
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                                                                                                  3   13.   SCDC’s business is product design, including (but not limited to) design of
                                                                                                  4         golf irons. SCDC does not manufacture, and has not manufactured golf irons.
                                                                                                  5   14.   SCDC produced and/or approved computer aided design (CAD) drawings for
                                                                                                  6         the golf irons accused of patent infringement in this litigation.
                                                                                                  7   15.   SCDC’s “INDI” business is the sale of golf wedges and putters. The INDI
                                                                                                  8         business does not include manufacturing, and has not included
                                                                                                  9         manufacturing, of wedges and putters. The INDI business does not include
                                                                                                 10         manufacturing or sale, and has not included manufacturing or sale, of golf
                                                                                                 11         irons.
                                                                                                 12   16.   I am aware that the United States Golf Association (USGA) maintains an
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                                                                                                 13         Informational Club Database (“Database”). Information about the Database
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                                                                                                 14         is available at https://www.usga.org/rules-hub/grooves/informational-club-
                                                                                                 15         database.html. As explained on this webpage, “The Database is a tool
                                                                                                 16         designed to facilitate a search of irons, wedges, fairway woods and hybrids
                                                                                                 17         which have been submitted to the USGA and/or The R&A and evaluated to
                                                                                                 18         determine whether they meet the requirements of The Local Rule,” which
                                                                                                 19         requires that a player’s clubs “conform to the Rules of Golf effective from
                                                                                                 20         Jan. 1, 2010.”
                                                                                                 21   17.   A link to the USGA Informational Club Database is available at https://
                                                                                                 22         www.usga.org/infoclubsdb/Search.aspx. At this website, it is possible to
                                                                                                 23         search the Database to see if a player’s clubs are conforming by entering a
                                                                                                 24         name identifying the clubs of interest. The name may be of a manufacturer, a
                                                                                                 25         brand, or a particular product.
                                                                                                 26   18.   SCDC has made submissions to the USGA for testing and inclusion of golf
                                                                                                 27         clubs in the USGA’s Informational Club Database. The form for submission
                                                                                                 28         lists the submitter’s name at the top. If the form does not identify a


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                                                                                                  3           manufacturer, the USGA lists the submitter in the database as the
                                                                                                  4           manufacturer.
                                                                                                  5   19.     SCDC is listed in the “manufacturer” field in the USGA database for a design
                                                                                                  6           of Kirkland Signature™ irons that was not and is not being sold, even though
                                                                                                  7           SCDC does not manufacture the irons. SCDC is not listed in the
                                                                                                  8           “manufacturer” field in the USGA database for any other Kirkland
                                                                                                  9           Signature™ irons.
                                                                                                 10   20.     INDI is listed in the “manufacturer” field in the USGA database for wedges
                                                                                                 11           and putters sold under the INDI brand, even though neither INDI nor SCDC
                                                                                                 12           manufactures the wedges or putters. INDI is not listed in the “manufacturer”
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                                                                                                 13           field in the USGA database for any Kirkland Signature™ irons.
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                                                                                                 14   21.     I am aware that INDI was listed in the “manufacturer” field in the USGA
                                                                                                 15           database for Kirkland Signature™ irons for around two months ending in
                                                                                                 16           early January 2023. The listing was in error, and was corrected promptly after
                                                                                                 17           the error was pointed out.
                                                                                                 18   I hereby declare under penalty of perjury that the foregoing is true and correct.
                                                                                                 19
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                                                                                                      Date:         March __,
                                                                                                                          27 2024
                                                                                                 21
                                                                                                                                                                  Robert Lang
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